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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20168-24-JWL


Franklin Goodwin, Jr.,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Goodwin’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Goodwin asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015.

      The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office

of the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782. The record reflects that Mr. Goodwin may be

entitled to have the Federal Public Defender represent him to determine in the first instance

whether Mr. Goodwin qualifies for relief under the amendment. In light of these circumstances,

the court believes that the most efficient way to resolve the issue raised by Mr. Goodwin is to
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forward Mr. Goodwin’s motion (along with a copy of this order) to the Office of the Federal

Public Defender for an initial determination of whether Mr. Goodwin qualifies for

representation and is entitled to a reduction in his sentence in light of the amendment. In the

meantime, the court will deny Mr. Goodwin’s motion without prejudice to refiling the motion

on or after February 2, 2015 if the Office of the Public Defender declines to seek relief for Mr.

Goodwin under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Goodwin’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1661) is denied without prejudice

to refiling on or after February 2, 2015.



       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Goodwin’s pro se motion for reduction of sentence.



       IT IS SO ORDERED.



       Dated this 19th day of December, 2014, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge



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